Case: 1:21-cv-05069 Document #: 1-1 Filed: 09/24/21 Page 1 of 32 PageID #:7




               EXHIBIT 1
 Case: 1:21-cv-05069 Document #: 1-1 Filed: 09/24/21 Page 2 of 32 PageID #:8

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/27/2021
                                                                                                    CT Log Number 540153060
TO:         Lischen Reeves
            Cerner Corporation
            2800 ROCK CREEK PKWY
            KANSAS CITY, MO 64117-2521

RE:         Process Served in Illinois

FOR:        Cerner Corporation (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  JENORA KYLES, individually and on behalf of all similarly situated individuals,
                                                  Pltf. vs. CERNER CORPORATION, etc., Dft.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 2021CH04025
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:                         By Process Server on 08/27/2021 at 12:46
JURISDICTION SERVED :                             Illinois
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/27/2021, Expected Purge Date:
                                                  09/01/2021

                                                  Image SOP

                                                  Email Notification, Sara Meinhard sara.meinhard@cerner.com

                                                  Email Notification, Lischen Reeves lischen.reeves@cerner.com

                                                  Email Notification, Jennifer Varon jen.varon@cerner.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  866-331-2303
                                                  CentralTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                             Wolters Kluwer

                               PROCESS SERVER DELIVERY DETAILS




Date:                             Fri, Aug 27, 2021

Server Name:                      Sheriff Drop




Entity Served                     CERNER CORPORATION

Case Number                       2021CH04025

Jurisdiction                      IL




                                                                  1
                                                          Case: 1:21-cv-05069 Document #: 1-1 Filed: 09/24/21 Page 4 of 32 PageID #:10
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                      Locafio                         kflieCourt                                                           FILED
                            24560atetarpitd               2221 - Not Served
                                                                                                                           8/24/2021 11:01 AM
                                             2320 - Served By Mail        2321 - Served By Mail
                                                                                                                           IRIS Y. MARTINEZ
                                             2420 - Served By Publication 2421 - Served By Publication                     CIRCUIT CLERK
                                             Summons - Alias Summons                                   (06/28/18) CCG 0001 COOK COUNTY, IL
FILED DATE: 8/24/2021 11:01 AM 2021CH04025




                                                                                                                           2021CH04025
                                                        IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                                           14550660

                                              JENORA KYLES,indiv. and on behalf of a dass,
                                                                                           (Name all parties) Case No.            2021-CH-04025
                                                                              V.                                     CERNER CORPORATION
                                                                                                                     d o CT CORPORATION SYSTEM
                                             CERNER CORPORATION                                                      208 S. LaSalle St., Suite 814
                                                                                                                     Chicago,IL 60604

                                                                                        VI SUMMONS 0 ALIAS SUMMONS

                                             To each Defendant

                                             YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
                                             file your appearance and pay the required fee within thirty (30) days after service ofthis Summons,not counting the day of service.
                                             To file your answer or appearance you need access to the internet. Please visit v.wwcookcountyclerkofcourtorg to initiate this process.
                                             Kiosks with inter-net access are available at all Clerk's Office locations. Please refer to the last page of this document for location
                                             information.
                                             If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
                                             To the Officer:
                                             This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
                                             if any,immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
                                             served later than thirty (30) days after its date.

                                             E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
                                             with an e-filing service provider. Visit https://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                             service provider. If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/gethelp.asp.
                                                                                                                                 8/24/2021 11:01 AM IRIS Y. MARTINEZ
                                                                                                                    Witness:




                                             Atty. No.: 56618

                                             Atty Name: Jordan Frysinger
                                                                                                                   Date of Service:
                                             Atty. for: Plaintiff                                                  (To be inserted by officer on copy left with Defendant
                                             Address: 55 West Wacker Drive, 9th Fl.                                or other person):
                                             City: Chicago                                       State:    IL

                                             Zip: 60601
                                             Telephone: 312-893-7002
                                             Primary Email: jfrysinger@mcgpc.com

                                             Secondary Email: tkingsbury@mcgpc.com
                                             Tertiary Email:
                                                  Dorothy Brown, Clerk of the Circuit Court of Cook County,Illinois                          cookcountyclerkofcourt.org
                                                                                                             Page 1 of 2
            Case: 1:21-cv-05069 Document #: 1-1 Filed: 09/24/21 Page 5 of 32 PageID #:11

                                                                                SOP Intake   Portal
        Wolters Kluwer

                                                  Job Submission


Date: Wed,Aug 25, 2021

lime: 2:22 PM

Name: Larry Biela

Juris Served: IL

Job #:98746



The following information was submitted by you electronically via our portal.

Please reference this job number when you arrive at our office to complete service.
We will email you confirmation of receipt of service following your office visit.
NOTE: You do not need to bring the physical documents when you come into the office.

                                               ,
 Entity Served         Agent Name              ! Case No.     ! File Name
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                                               !
 CERNER                CT CORPORATION          I 2021 CH      I 2021 CH 04025 CERNER CORPORATION SUMMONS &
 CORPORATION           SYSTEM                  I 04025        I COMPLAINT.pdf
                        Hearing Date: 12/14/2021 10:00 AM - 10:00 AM
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                                2420 - Served By Publication 2421 - Served By Publication                                                          CIRCUIT CLERK
                                Summons - Alias Summons                                                                        (06/28/18) CCG 0001 COOK COUNTY, IL
FILED DATE: 8/24/2021 11:01 AM 2021CH04025




                                                                                                                                                   2021CH04025
                                                           IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                                                                              14550660

                                              JENORA KYLES,indiv. and on behalf of a class,
                                                                                           (Name all parties) Case No.            2021-CH-04025
                                                                              V.                                     CERNER CORPORATION
                                                                                                                     d o CT CORPORATION SYSTEM
                                             CERNER CORPORATION                                                      208 S. LaSalle St., Suite 814
                                                                                                                     Chicago,IL 60604

                                                                                       0 SUMMONS [I] ALIAS SUMMONS

                                             To each Defendant:

                                             YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
                                             file your appearance and pay the required fee within thirty (30) days after service ofthis Summons; not counting the day of service,
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                                             Kiosks with internet access are available at all Clerk's Office locations. Please refer to the last page of this document for location
                                             information.
                                             If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
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                                             This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
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                                             with an e-filing service provider. Visit https://efile.illistoiscourts.goviservice-providers.htm to learn more and to select a
                                             service provider. If you need addidonal help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/gethelp.asp.
                                                                                                                                  8/24/2021 11:01 AM IRIS Y. MARTINEZ
                                                                                                                    Witness:



                                             Atty. No.: 56618

                                             Atty Name: Jordan Frysinger
                                                                                                                   Date of Service:
                                             Atty. for: Plaintiff                                                  (To be inserted by officer on ropy left with Defendant
                                             Address: 55 West Wacker Drive, 9th Fl                                 or other person):
                                             City: Chicago                                        State:    IL

                                             Zip: 60601
                                             Telephone: 312-893-7002
                                             Primary Email: jfrysinger@mcgpc.com

                                             Secondary Email: tkingsbury@mcgpc.com
                                             Tertiary Email:
                                                  Dorothy Brown, Clerk of the Circuit Court of Cook County,Illinois                          cookcountyclerkofcourt.org
                                                                                                             Page 1 of 2
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                                                       CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                             O   Richard J Daley Center                           O      Domestic Relations Division
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                                                 50 W Washington                                         Richard J Daley Center
                                                 Chicago,IL 60602                                        50 W Washington,Rm 802
                                             O   District 2 - Skokie                                     Chicago,IL 60602
                                                 5600 Old Orchard Rd                                     Hours: 8:30 am - 4:30 pm
                                                 Skokie,IL 60077                                  O      Civil Appeals
                                             O   District 3 - Rolling Meadows                            Richard J Daley Center
                                                 2121 Euclid                                             50 W Washington,Rm 801
                                                 Rolling Meadows,IL 60008                                Chicago,IL 60602
                                                                                                         Hours: 8:30 am - 4:30 pm
                                             O   District 4 - Maywood
                                                 1500 Maybrook Ave                                O      Criminal Department
                                                 Maywood,IL 60153                                        Richard J Daley Center
                                                                                                         50 W Washington,Rm 1006
                                             O   District 5 - Bridgeview                                 Chicago,IL 60602
                                                 10220 S 76th Ave                                        Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                  O      County Division
                                             O   District 6 - Markham                                    Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                     50 W Washington,Rm 1202
                                                 Markham,IL 60428                                        Chicago,IL 60602
                                             O   Domestic Violence Court                                 Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                   O      Probate Division
                                                 Chicago, IL 60607                                       Richard J Daley Center
                                             O   Juvenile Center Building                                50 W Washington,Rm 1202
                                                 2245 W Ogden Ave, Rm 13                                 Chicago,IL 60602
                                                 Chicago,IL 60602                                        Hours: 8:30 am - 4:30 pm
                                             O   Criminal Court Building                          O      Law Division
                                                 2650 S California Ave, Rm 526                           Richard J Daley Center
                                                 Chicago, IL 60608                                       50 W Washington, Rm 801
                                                                                                         Chicago,IL 60602
                                             Daley Center Divisions/Departments                          Hours: 8:30 am - 4:30 pm

                                             O   Civil Division                                   O      Traffic Division
                                                 Richard J Daley Center                                  Richard J Daley Center
                                                 50 W Washington, Rm 601                                 50 W Washington,Lower Level
                                                 Chicago, IL 60602                                       Chicago,IL 60602
                                                 Hours: 8:30 am - 4:30 pm                                Hours: 8:30 am - 4:30 pm

                                             0   Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago,IL 60602
                                                 Hours: 8:30 am - 4:30 pm


                                                 Dorothy Brown,Clerk of the Circuit Court of Cook County,Illinois      cookcountyclerkofcourt.org
                                                                                           Page 2 of 2
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                      Hearing Date: 12/14/2021 10:00 AM - 10:00 AM                  12-Person Jury
                      Courtroom Number: 2410
                      Location: District 1 Court
                              Cook County, IL                                                            FILED
                                                                                                         8/13/2021 6:51 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                                                         CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT,CHANCERY DIVISION
                                                                                                         COOK COUNTY, IL
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                                                                                                         2021CH04025
                                                 JENORA KYLES,individually and on  )
                                                 behalf of all similarly situated  )                     14436841
                                                 individuals,                      )
                                                                                             )                2021 CH04025
                                                         Plaintiff,                          )          No.
                                                                                             )
                                                                        v.                   )          Hon.
                                                                                             )
                                                 CERNER CORPORATION,                         )
                                                 a Delaware corporation,                     )          JURY TRIAL DEMANDED
                                                                                             )
                                                         Defendant.                          )

                                                               CLASS ACTION COMPLAINT WITH JURY DEMAND

                                                    Plaintiff Jenora Kyles ("Plaintiff'), individually and on behalf of all similarly situated

                                             individuals, brings this Class Action Complaint against Defendant Cerner Corporation

                                            ("Defendant" or "Cerner"), for its violations of the Illinois Biometric Information Privacy Act,

                                            740 ILCS 14/1, et seq.("BIPA"), and to obtain redress for persons injured by its conduct. Plaintiff

                                            alleges the following based on personal knowledge as to Plaintiffs own experiences, and as to all

                                            other matters, upon information and belief, including an investigation conducted by her attorneys.

                                                                                   INTRODUCTION

                                                    1.      BIPA defines a "biometric identifier" as any personal feature that is unique to an

                                            individual, including handprints, fingerprints, facial geometry, and retinal scans. "Biometric

                                            information" is any information based on a biometric identifier, regardless of how it is converted

                                            or stored. 740 ILCS § 14/10. Collectively, biometric identifiers and biometric information are

                                            known as "biometrics."

                                                   2.       This case concerns the misuse of individuals' biometrics by Defendant, a global

                                            supplier of health information technology services, software, and hardware. Using biometric
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                                            enabled technology, Defendant is capturing, collecting, storing, disseminating, or otherwise using

                                            the biometrics of Plaintiff and other Class members, without their informed written conscnt as
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                                            required by law, to verify their identity.

                                                    3.     BIPA provides, inter alio, that private entities, such as Defendant, may not obtain

                                            and/or possess an individual's biometrics unless they first:

                                                          (1)inform the person whose biometrics are to be collected in writing that biometric

                                                               identifiers or biometric information will be collected or stored;

                                                          (2)inform the person whose biometrics are to be collected in writing ofthe specific

                                                               purpose and the length ofterm for which such biometric identifiers or biometric

                                                               information is being collected, stored and used;

                                                          (3)receive a written release from the person whose biometrics are to be collected,

                                                               allowing the capture and collection of their biontettic identifiers or biontetric

                                                               information; and

                                                          (4) publish publicly available retention guidelines for permanently destroying

                                                               biometric identifiers and biometric information. 740 ILCS 14/15(a)-(b).

                                                   4.      Compliance with BIPA is straightforward and may be accomplished through a

                                            single, signed sheet of paper. BIPA's requirements, which have been law in Illinois since 2008,

                                            bestow a right to privacy in biometrics and a right to make an informed decision when electing

                                            whether to provide or withhold biometrics.

                                                   5.      Defendant's biometrically enabled technology works by extracting biometric scans

                                            from individuals, such as scans of their fingerprints, and subsequently using the saute for identity

                                            verification purposes. Defendant's system includes the collection and storage ofclient information,

                                            including biometrics, on Cerner's own servers or hosted environments.



                                                                                             2
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                                                    6.       The Illinois Legislature has found that "biometrics are unlike other unique
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                                            identifiers that are used to access finances or other sensitive information. For example, even

                                            sensitive information like Social Security numbers can be changed. Biometrics, however, are

                                            biologically unique to each individual and, once compromised, such individual has no recourse, is

                                            at a heightened risk for identity theft, and is likely to withdraw from biometric facilitated

                                            transactioriq" 740 ILCS 14/5(0 The risk is compounded when a person's biometrics are also

                                            associated with their other personally identifiable information.

                                                    7.       The deprivation of the statutory rights conferred by BIPA constitutes the actual

                                            injuries the Illinois Legislature sought to prevent.

                                                    8.       Plaintiff brings this action for statutory damages and other remedies as a result of

                                            Defendant's conduct in violating Plaintiff's state biometric privacy rights.

                                                    9.       On Plaintiff's own behalf, and on behalf of the proposed Class defined below,

                                            Plaintiff seeks an injunction requiring Defendant to comply with BIPA, as well as an award of

                                            statutory damages to the Class members,together with costs and reasonable attorneys' fees.

                                                                                         PARTIES

                                                    10.      At all relevant times, Plaintiff Jenora Kyles has been a resident and citizen of the

                                            state of Illinois.

                                                    1 1.    Defendant is a global supplier of health information technology software, services,

                                            and hardware,organized under the laws ofDelaware, that conducts substantial business throughout

                                            Illinois, including in Cook County, Illinois, and is registered with and authorized by the Illinois

                                            Secretary of State to transact business in the state ofIllinois.




                                                                                              3
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                                                                              JURISDICTION AND VENUE

                                                             This Court may assert personal jurisdiction over Defendant pursuant to 735 ILCS
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                                                    12.

                                            5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States,

                                            because Defendant is doing business within this State, provided its biometric technology to clients

                                            and/or customers in this State with the knowledge that such technology would be used in this State,

                                            and because Plaintiff's claims arise out of Defendant's unlawful in-state actions, as Defendant

                                            captured, collected, stored, and used Plaintiffs biometric identifiers and/or biometric information

                                            in this State.

                                                    13.      Venue is proper in Cook County, Illinois pursuant to 735 ILCS 5/2-101, because

                                            Defendant is doing business in Cook County, Illinois and thus resides there under § 2-102.

                                                                               FACTUAL ALLEGATIONS

                                                    14.      Defendant Cerner is a global supplier of health information technology and

                                            conducts business throughout the state of Illinois. Cerner offers software, services, and hardware

                                            to medical providers throughout the country.

                                                    15.      Defendant's products are equipped with biometrically enabled technology for

                                            identity verification.

                                                    16.      One ofDefendant's products, the RxStation,is an automated medication dispensing

                                            cabinet.

                                                    17.      Users of the RxStation are required to scan their fingerprint to gain access to the

                                            cabinet.

                                                    18.      Prior to using the RxStation, medical workers, such as nurses, must register their

                                            fingerprint with Defendant to link the cabinet to the individuals' biometric identifier.




                                                                                              4
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                                                     19.    After registration, users are required to scan their fingerprint into the RxStation
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                                             each time they need to access the cabinet.

                                                     20.    The RxStation, along with many Cerner products, are connected to Cerner's

                                             network and servers. Thus, by obtaining users' biometrics through the RxStation, Defendant

                                             collects, captures, and transmits biometric data to be stored and maintained in Cerner servers.

                                                     21.    However, Defendant fails to inform users that its biometrically enabled products

                                             are collecting,capturing,storing, and/or using their unique biometrics, nor are they informing users

                                             the extent ofthe purposes for which their biometrics arc being collected, captured, stored, and/or

                                             used.

                                                     22.    Defendant also fails to seek or obtain written consent to collect biometrics prior to

                                             doing so.

                                                     23.    In addition, biometrics are a necessary element of Defendant's biometric

                                             authentication services; therefore, Defendant has profited directly from Plaintiff's and Class

                                             members' biometrics.

                                            Facts Specific to Plaintiff

                                                     24.    Until September 2018, Plaintiff worked as a nurse at Shirley Ryan AbilityLab

                                            (formerly known as Rehabilitation Institute of Chicago) in Chicago,IL.

                                                     25.    During Plaintiff's employment at Shirley Ryan, she was required to register her

                                             fingerprint with Defendant to access Defendant's RxStation.After registration, Plaintiff was

                                            required to provide scans of her fingerprint to Defendant each time she needed to access the

                                            RxStation.




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                                                    26.     Defendant knew, or should have known, that distributing its products in Illinois

                                            would result in its collection of Illinois citizens' biometric data, and thus subject it to the
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                                            requirements ofBIPA.

                                                    27.     After collecting Plaintiff's biometrics, Defendant transmitted information derived

                                            from the scanning of Plaintiff's biometric identifier, i.e. biometric information, to Defendant's

                                            own servers. However, Defendant never sought or obtained Plaintiff's consent to do so.

                                                    28.     Prior to taking Plaintiff's biometrics, Defendant did not inform Plaintiff in writing

                                            that Plaintiff's biometrics were being captured, collected, stored, and/or used.

                                                    29.     Defendant also failed to make publicly available any written policy addressing their

                                            biometric retention and destruction schedules.

                                                    30.     By failing to comply with BIPA,Defendant has violated Plaintiff's substantive state

                                            rights to biometric privacy.

                                                                                CLASS ALLEGATIONS

                                                    31.     Plaintiff brings this action individually and on behalf of all similarly situated

                                            individuals pursuant to 735 ILCS § 5/2-801. Plaintiffseeks to represent a Class defined as follows:

                                                    Class: All individuals whose biometrics were captured, collected, stored, or
                                                    otherwise used by or on behalf of Defendant within the state ofIllinois at any time
                                                    within the applicable limitations period.

                                                    32.    Excluded from the Class are any members ofthe judiciary assigned to preside over

                                            this matter; any officer or director of Defendant; and any immediate family member of such

                                            officers or directors.

                                                   33.     Upon information and belief, there are at least one hundred members of the Class,

                                            making the members of the Class so numerous that joinder of all members is impracticable.




                                                                                             6
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                                            Although the exact number of members ofthe Class is currently unknown to Plaintiff, the members
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                                            can be easily identified through Defendant's personnel records.

                                                   34.     Plaintiff's claims are typical of the claims of the members of the Class Plaintiff

                                            seeks to represent, because the factual and legal bases of Defendant's liability to Plaintiff and the

                                            other members are the same, and because Defendant's conduct has resulted in similar injuries to

                                            Plaintiff and to the Class. As alleged herein, Plaintiff and the Class have all suffered damages as a

                                            result of Defendant's BIPA violations.

                                                   35.     There are many questions oflaw and fact common to the claims ofPlaintiff and the

                                            Class, and those questions predominate over any questions that may affect individual members.

                                            Common questions for the Class include, but are not limited to, the following:

                                                           a.    Whether Defendant's conduct violates BIPA;

                                                           b.    Whether Defendant made available to the public a written policy that

                                                                 establishes a retention schedule and guidelines for destroying biometrics;

                                                           c.    Whether Defendant obtained a written release from Plaintiff or the Class

                                                                 members before capturing, collecting, or otherwise obtaining their

                                                                 biometrics;

                                                           d.    Whether Defendant provided a written disclosure to Plaintiff or the Class

                                                                 members that explains the specific purposes,and the length oftime,for which

                                                                 biometrics were being collected, stored and used before taking such

                                                                 biometrics;

                                                           e.    Whether Defendant profited from a Plaintiff's or the Class members'

                                                                 biometrics;

                                                           f.    Whether Defendant's violations ofthe BIPA are willful or reckless; and



                                                                                             7
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                                                           g.    Whether Plaintiff and the Class are entitled to damages and injunctive relief.

                                                           Absent a class action, most members of the Class would find the cost of litigating
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                                                   36.

                                            their claims to be prohibitively expensive and would thus have no effective remedy. The class

                                            treatment of common questions of law and fact is superior to multiple individual actions in that it

                                            conserves the resources ofthe courts and the litigants and promotes consistency of adjudication.

                                                   37.     Plaintiff will adequately represent and protect the interests of the members of the

                                            Class. Plaintiff has retained counsel with substantial experience in prosecuting complex litigation

                                            and class actions. Plaintiff and Plaintiff's counsel are committed to vigorously prosecuting this

                                            action on behalf of the other members of the Class and have the financial resources to do so.

                                            Neither Plaintiff nor Plaintiff's counsel have any interest adverse to those ofthe other members of

                                            the Class.

                                                   38.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

                                            and the other members of the Class, requiring the Court's imposition of uniform relief to ensure

                                            compatible standards of conduct toward the members of the Class and making injunctive or

                                            corresponding declaratory relief appropriate for the Class as a whole.

                                                                                      COUNT I
                                                Violations of the Illinois Biometric Information  Privacy Act,740 ILCS 14/1,et seq.,
                                                                        (On behalf of Plaintiff and the Class)

                                                   39.     Plaintiff incorporates the foregoing allegations as iffully set forth herein.

                                                   40.     Defendant is a private entity under BIPA.

                                                   41.     BIPA requires private entities, such as Defendant, to obtain informed written

                                            consent from individuals before acquiring their biometric identifiers or biometric information.

                                            Specifically, BIPA makes it unlawful to "collect, capture, purchase, receive through trade, or

                                            otherwise obtain a person's or customer's biometric identifiers or biometric information unless



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                                              [the entity] first: (1) informs the subject . . . in writing that a biometric identifier or biometric

                                              information is being collected or stored; (2) informs the subject ... in writing of the specific
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                                              purpose and length offor which a biometric identifier or biometric information is being captured,

                                              collected, stored, and used; and (3) receives a written release executed by the subject of the

                                              biometric identifier or biometric information...." 740 ILCS 14/15(b).

                                                     42.     BIPA also requires that a private entity in possession of biometric identifiers and/or

                                              biometric information make publicly available a written biometric retention and destruction policy.

                                                     43.     Plaintiff and the other Class members have had their "biometric identifiers,"

                                              namely their fingerprints, or information derived therefrom, i.e. "biometric information,"

                                              collected, captured, stored and/or otherwise obtained by Defendant.

                                                     44.     Each instance Plaintiff and the other Class members were required to scan their

                                              fingerprints, Defendant captured, collected, stored, and/or otherwise obtained Plaintiff's and the

                                              other Class members' biometric identifiers or biometric information without valid consent and

                                              without complying with and, thus, in violation of BIPA.

                                                     45.     Defendant's practice with respect to capturing, collecting, storing, and using

                                              biometrics fails to comply with applicable BIPA requirements:

                                                             a.    Defendant failed to inform Plaintiff and the members of the Class in writing

                                                                   that their biometrics were being collected and stored, prior to such collection

                                                                   or storage, as required by 740 ILCS 14/15(b)(1);

                                                             b.    Defendant failed to inform Plaintiff and Class in writing of the specific

                                                                   purpose for which their biometrics were being captured, collected, stored, and

                                                                   used, as required by 740 ILCS 14/15(b)(2);




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                                                           c.    Defendant failed to inform Plaintiff and the Class in writing the specific

                                                                 length of term their biometrics were being captured, collected, stored, and
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                                                                 used, as required by 740 ILCS 14/15(b)(2);

                                                           d.    Defendant failed to obtain a written release, as required by 740 ILCS

                                                                 14/15(b)(3);

                                                           e.    Defendant failed to make publicly available a written biometric retention and

                                                                 destruction schedule, as required by 740 ILCS 14/15(a); and

                                                           f.    Defendant failed to obtain consent to disclose or disseminate Plaintiffs and

                                                                 the Class' biometrics, as required by 740 ILCS I4/15(d)(1).

                                                   46.     By providing biometric authentication service/technology for which biometrics are

                                            a necessary element,Defendant directly profited from Plaintiffs and the Class members' biometric

                                            identifiers and biometric information in violation of 740 ILCS 14/15(c).

                                                   47.     BIPA provides for statutory damages of $5,000 for each willful and/or reckless

                                            violation ofBIPA and, alternatively, damages of$1,000 for each negligent violation ofBIPA. 740

                                            ILCS 14/20(1)-(2).

                                                   48.     Defendant's violations of BIPA, a statute that has been in effect since 2008, were

                                            knowing and willful, or were at least in reckless disregard of the statutory requirements.

                                            Alternatively, Defendant negligently failed to comply with BIPA.

                                                   49.     Accordingly, with respect to Count I, Plaintiff, individually and on behalf of the

                                            proposed Class, prays for the relief set forth below.




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                                                   WHEREFORE, Plaintiff, individually and on behalf of the proposed Class, respectfully

                                            requests that this Court enter an Order:

                                                   a.      Certifying the Class as defined above, appointing Plaintiff as class representative

                                                           and the undersigned as class counsel;

                                                   b.      Declaring that Defendant's actions, as set forth herein, violate BIPA;

                                                   c.      Awarding injunctive and equitable relief as necessary to protect the interests of

                                                           Plaintiff and the Class by requiring Defendant to comply with BIPA;

                                                   d.      Awarding statutory damages of$5,000 for each willful and/or reckless violation of

                                                           BIPA,pursuant to 740 ILCS 14/20(2);

                                                   e.      Awarding statutory damages of $1,000 for each negligent violation of BIPA,

                                                           pursuant to 740 ILCS 14/20(1);

                                                   f.      Awarding reasonable attorneys' fees, costs, and other litigation expenses pursuant

                                                           to 740 ILCS 14/20(3);

                                                   g•      Awarding pre- and post-judgment interest, as allowable by law; and

                                                   h.      Awarding such further and other relief as the Court deemsjust and equitable.

                                                                                     JURY DEMAND

                                                   Plaintiff requests trial by jury of all claims that can be so tried.


                                            Dated: August 13, 2021                         Respectfully submitted,

                                                                                           JENORA KYLES, individually and on behalf of a
                                                                                           class of similarly situated individuals

                                                                                           By:     /s/ Jordan R. Frysinger
                                                                                                   One ofPlaint 's Attorneys




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                                            Jordan R. Frysinger
                                            Timothy P. Kingsbury
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Hearing Date: 12/14/2021 10:00 AM - 10:00 AM
Courtroom Number: 2410
Location: District 1 Court                                     FILED
        Cook County, IL                                        8/24/2021 11:01 AM
                  IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                               CIRCUIT CLERK
                      COUNTY DEPARTMENT,CHANCERY DIVISION
                                                               COOK COUNTY, IL
                                                               2021CH04025
       JENORA KYLES,individually and on                  )
       behalf of similarly situated individuals,         )                             14550660

              Plaintiff;                                         No. 2021-CH-04025

                              V.

      CERNER CORPORATION,
      a Delaware corporation,

              Defendant.



      PLAINTIFF'S MOTION FOR CLASS CERTIFICATION OR,ALTERNATIVELY,
      FOR A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

          Plaintiff Jenora Kyles, by and through her undersigned counsel, pursuant to 735 ILCS 5/2-

  801, moves for entry of an order certifying the Class proposed below, appointing Plaintiff as Class

  Representative, and appointing Plaintiffs attorneys as Class Counsel. Alternatively, Plaintiff

  requests, to the extent the Court determines further evidence is necessary to prove any element of

  735 ILCS 5/2-801, that the Court defer consideration of this Motion pending a reasonable period

  to complete diseuveiy. See, e.g., Ballard RN Center, Inc. v. Kohll's Pharmacy & Homccare, Inc.,

  2015 IL 118644, at vg 42-43(citing Damasco v. Clearwire Corp.,662 F.3d 891,896-97(7th Cir.

  2011)). In support of her Motion,Plaintiff submits the following Memorandum ofLaw.


  Dated: August 24, 2021                           Respectfully Submitted,

                                                   JENORA KYLES,individually and on behalf of a
                                                   Class of similarly situated individuals

                                                   By: /s/ Jordan R. Frysinger
                                                   One ofPlaint 's Attorneys




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                                             Jordan R. Frysinger
                                             Timothy P. Kingsbury
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                                             Attorneysfor Plaintiffand the Putative Class




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                                                           MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S
                                                        MOTION FOR CLASS CERTIFICATION OR,ALTERNATIEY,FOR
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                                                     A DEFFERED CLASS CERTIFICATION RULING PENDING DISCOVERY

                                                      This Court should certify a class of individuals whose biometrics were obtained by

                                             Defendant Cerner Corporation ("Defendant" or "Cerner"), in violation of the Illinois Biometric

                                             Information Privacy Act,740 ILCS 14/1, et seq.("BIPA"). Defendant is a global supplier ofhealth

                                             information technology, providing its customers with software, services, and hardware.

                                             Defendant's products are equipped with biometrically enabled technology that scans users'

                                             fingerprints for identity verification. One of Defendant's products, the RxStation, is a medicine

                                             cabinet that requires users to scan their fingerprint to gain access. The RxStation, along with other

                                             Cerner products, transmits users' biometric data to be stored and maintained in Cerner servers.

                                             Defendant has violated BIPA because it failed to obtain proper consent prior to collecting,

                                             capturing, storing, and using users', such as Plaintiff's and the other class members', fingerprints.

                                             After Plaintiff learned of Defendant's wrongful conduct, she brought suit on behalf of a class of

                                             similarly situated individuals to put a stop to Defendant's collection of Illinois residents'

                                             fingerprints in violation of BIPA, and to obtain redress for all persons injured by their conduct.

                                             I.      INTRODUCTION: BIPA

                                                     The Illinois Biometric Information Protection Act is designed to protect individuals'

                                             biometrics. "Biometrics" refers to a "biology-based set[s] of measurements." Rivera v. Google

                                             Inc., 238 F. Supp. 3d 1088, 1094 (N.D. Ill. 2017). Specifically, "biometrics" are "a set of

                                             measurements of a specified physical component (eye, finger, voice, hand, face)." Id at 1296.

                                             Under BIPA, biometric identifiers include handprints, fingerprints and facial geometry; while

                                             biometric information can be defined as any information based on a biometric identifier, regardless

                                             of how it is captured, converted, stored, or shared.(Complaint,"Compl.," ¶ 1.)




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       In recognition of the importance of the security of individuals' biometrics, the Illinois

Legislature enacted BIPA, which provides, inter alia, that private entities, such as Defendant, may

not obtain and/or possess an individual's biometrics unless they:(1)inform that person in writing

that biometric identifiers or information will be captured, collected, stored, or used;(2)inform that

person in writing ofthe specific purpose and the length ofterm for which such biometric identifiers

or biometric information is being captured,collected, stored, and used;(3)receive a written release

from the person for the collection of his or her biometric identifiers and/or information; and (4)

publish publicly and make available a written retention schedule and guidelines for permanently

destroying biometric identifiers and biometric information. 740 ILCS 14/15(a)-(b). In addition,

BIPA also prohibits private companies from selling, leasing,trading, or otherwise profiting from a

person's or a customer's biometric identifier or biometric information. 740 ILCS 14/15(c). And

lastly BIPA prohibits the "disclos[ure], redisclos[ure], or other[] disseminat[ion]" of biometrics

without consent, unless the "disclosure or redisclosure completes a financial transaction" that is

requested or authorized by the individual, is required by law, or is required in order to comply with

a valid warrant or subpoena. 740 ILCS 14/15(d).

II.    FACTUAL BACKGROUND

       A.      The Underlying Misconduct.

       Defendant is a global supplier of health of health information technology and conducts

business throughout the state of Illinois.(Compl., II 14.) Defendant's products are equipped with

biometrically enabled technology for identity verification. (Id. at ¶ 15.) One of Defendant's

products, the RxStation, is an automated medication dispensing cabinet which requires users to

scan their fingerprint to gain access.(Id at ¶J 16, 17.) Users of the RxStation must register their

fingerprint with Defendant to link the cabinet to the individuals' biometric identifier.(Id. atli 18.)




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                                             After registration, users are required to scan their fingerprint into the RxStation each time they
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                                             need to access the cabinet. (Id. at ¶ 19.) The RxStation, along with other Cerner products, are

                                             connected to Cemer's network and servers. (Id. at 11 20.) Thus, through its products, Cemer

                                             collects, captures, and transmits biometric data to be stored and maintained in Cemer servers.(Id

                                             at If 20.)

                                                     Until September 2018, Plaintiff worked as a nurse at Shirley Ryan AbilityLab (formerly

                                             known as Rehabilitation Institute of Chicago)in Chicago,IL.(Id. at ¶ 24.)During her employment

                                             at Shirley Ryan, Plaintiff was required to register her fingerprint with Defendant to access

                                             Defendant's RxStation.(Id. at ¶ 25.)Plaintiff was then required to provide scans of her fingerprint

                                             to Defendant each time she needed to access the RxStation.(Id. at ¶ 25.)After collecting Plaintiff's

                                             biometrics, Defendant transmitted information derived from the scanning of Plaintiff's biometric

                                             identifier, i.e. biometric information, to Defendant's own servers. (Id. at ¶ 27.) However, prior to

                                             collecting, capturing, storing, and/or using Plaintiff's and class members' biometrics, Defendant

                                             never obtained Plaintiff's and class members' consent to do so as required by BIPA.(Id. at ¶ 27.)

                                             Further, Defendant did not inform Plaintiff or other members of the class in writing that their

                                             biometrics were being collected, captured, stored, and/or used.(Id. at If 28.) Defendant also failed

                                             to make publicly available any written policy addressing their biometric retention and destruction

                                             schedules. (Id. at ¶ 29.) As a result, Defendant has violated BIPA and therefore Plaintiff's and

                                             class members' substantive state rights to biometric privacy.(Id. at ¶ 30.)

                                                     B.      The Proposed Class

                                                     Plaintiff brings this action on behalf of herself and similarly situated individuals pursuant

                                             to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class defined as follows:

                                                            Class: All individuals whose biometrics were captured, collected, stored, or
                                                            otherwise used by or on behalf of Defendant within the state of Illinois at any time


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                                                             within the applicable limitations period.
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                                             (Compl., ¶ 31.) As explained below, the proposed Class satisfies each of the four requirements

                                             for certification under Section 2-801 of the Illinois Code of Civil Procedure—numerosity,

                                             commonality, adequacy of representation, and fair and efficient adjudication. A class action is not

                                             just appropriate here, it is also the only way that the members of the putative Class can obtain

                                             appropriate redress for Defendant's unlawful conduct.

                                             III.    ARGUMENT

                                                     A.     Standards for Class Certification

                                                    To obtain class certification, it is not necessary for a plaintiff to establish that she will

                                             prevail on the merits ofthe action. Eisen v. Carlisle & Jacquelin,417 U.S. 156, 178(1974)("[T]he

                                             question is not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the

                                             merits, but rather whether the requirements of Rule 23 are met." (internal quotation marks and

                                             citation omitted)). As such, in determining whether to certify a proposed class, the Court should

                                             accept the allegations of the complaint as true. Ramirez v. Midway Moving & Storage, Inc., 378

                                             III. App. 3d 51,53(1st Dist. 2007).

                                                    To proceed with a class action, the movant must satisfy the "prerequisites for the

                                             maintenance of a class action" set forth in Section 2-801 of the Illinois Code of Civil Procedure,

                                             which provides:

                                                    An action may be maintained as a class action in any court ofthis State and a party
                                                    may sue or be sued as a representative party ofthe class only if the court finds:

                                                    (1)     The class is so numerous that joinder of all members is
                                                            impracticable.
                                                    (2)     There are questions of fact or law common to the class, which
                                                            common questions predominate over any questions affecting only
                                                            individual members.
                                                    (3)     The representative parties will fairly and adequately protect the
                                                            interest ofthe class.


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       (4)      The class action is an appropriate method for the fair and efficient
                adjudication of the controversy.

735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Class, and the

Court should therefore certify the proposed Class.

        Section 2-801 is modeled after Rule 23 ofthe Federal Rules ofCivil Procedure and "federal

decisions interpreting Rule 23 are persuasive authority with regard to questions of class

certification in Illinois." Avery v. State Farm Mut Auto. Ins. Co., 216 III. 2d 100, 125 (Ill. 2005).

Circuit courts have broad discretion in determining whether a proposed class meets the

requirement for class certification and ought to err in favor of maintaining class certification.

Ramirez, 378 Ill. App. 3d at 53. While a court may rule on class certification without requiring

further discovery,see Manual for Complex Litigation (Fourth)§ 21.14, at 255(2004), courts have

found that discovery is helpful prior to addressing a motion for class certification. See, e.g., Ballard

RN Center, Inc. v. Kohll's Pharmacy & Homecare, Inc., 2015 IL 118644, at ¶ 42("If the parties

have yet to fully develop the facts needed for certification, then they can also ask the district court

to delay its ruling to provide time for additional discovery or investigation.")(quoting Damasco v.

Clearwire Corp.,662 F.3d 891, 896(7th Cir. 2011)).

        All the prerequisites for class certification are satisfied here, even though Plaintiff has not

yet had an opportunity to engage in and complete discovery. However, in the interests of

establishing a more fully developed record before ruling on class certification issues, the Court

should defer ruling on this Motion pending the completion of discovery and submission of

supplemental briefing.

       B.      The Numerosity Requirement is Satisfied

       The first step in certifying a class is a showing that "the class is so numerous that joinder

of all members is impracticable." 735 ILCS 5/2-801(1). This requirement is met when "join[ing]


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                                             such a large number of plaintiffs in a single suit would render the suit unmanageable and, in
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                                             contrast, multiple separate claims would be an imposition on the litigants and the courts." Gordon

                                             v. Roden, 224 Ill. App. 3d 195, 200 (1st Dist. 1991)(citing Steinberg v. Chicago Med. Sch., 69

                                             I11.2d 320, 337 (Ill. 1977)). To satisfy this requirement a plaintiff need not demonstrate the exact

                                             number of class members but, must offer a good faith estimate as to the size ofthe class. Smith v.

                                             Nike Retail Servs., Inc., 234 F.R.D. 648,659(N.D. Ill. 2006).

                                                     Plaintiff alleges that there are at least one hundred members of the Class.(Compl., ¶ 33.)

                                             Because definitive evidence of numerosity can only come from the records of Defendant and its

                                             agents, it is proper to rely upon the allegations of the Complaint in certifying the Class. See 2 A.

                                             Conte & H. Newberg, Newberg on Class Actions § 7.20, at 66 (stating that where numerosity

                                             information is in the sole possession of the party opposing the class, courts generally rely on the

                                             complaint as prima facie evidence or defer ruling).

                                                     Additionally, the members of the putative Class can be easily and objectively determined

                                             from Defendant's records as Cemer collects, captures, stores, and uses the biometrics of users of

                                             its products. Furthermore, it would be completely impracticable to join the claims ofthe members

                                             ofthe Class, because they are disbursed throughout Illinois, and because absent a class action, few

                                             members could afford to bring an individual lawsuit over the amounts at issue in this case, because

                                             each individual member's claim is relatively small. See Gordon, 224 Ill. App. 3d at 200.

                                             Accordingly, the first prerequisite for class certification is met.

                                                    C.      Common Questions of Law and Fact Predominate

                                                    The second requirement of Section 2-801(2) is met where there are "questions of fact or

                                             law common to the class" and those questions "predominate over any questions affecting only

                                             individual members." 735 ILCS 5/2-801(2). Such common questions oflaw or fact exist when the




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                                             members ofthe proposed class have been aggrieved by the same or similar misconduct. See Miner
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                                             v. Gillette Co., 87 I11.2d 7, 19 (111. 1981); Steinberg, 69 I11.2d at 342. These common questions

                                             must also predominate over any issues affecting individual class members.See 0-Kay Shoes, Inc.

                                             v. Rosewell, 129 III. App. 3d 405,408(1st Dist. 1984). These common questions include: whether

                                             Defendant's conduct violates BIPA; whether Defendant made available to the public a written

                                             policy that establishes a retention schedule and guidelines for destroying biometrics; whether

                                             Defendant obtained a written release from Plaintiff or the Class members before capturing,

                                             collecting, or otherwise obtaining their biometrics; whether Defendant provided a written

                                             disclosure to Plaintiff or the Class members that explains the specific purposes, and the length of

                                             time, for which biometrics were being collected, stored and used before taking such biometrics;

                                             whether Defendant profited from Plaintiffs or the Class members' biometrics; whether

                                             Defendant's violations ofthe BIPA are willful or reckless; and whether Plaintiff and the Class are

                                             entitled to damages and injunctive relief.(Compl., If 35.)

                                                     As alleged, and as will be shown through obtainable evidence, during the relevant time

                                             period Defendant engaged in a common course of conduct by collecting, capturing, storing, and

                                             using Class members' biometric identifiers (fingerprints) or biometric information without

                                             obtaining the proper consent required by BIPA. Given that BIPA requires a record of consent to

                                             engage in such conduct, whether Defendant had valid consent is also a common issue subject to

                                             common resolution. Any potential individualized issues remaining after common issues are

                                             decided would be de minimis. Accordingly, common issues offact and law predominate over any

                                             individual issues, and Plaintiff has satisfied this hurdle to certification.

                                                    D.       Adequate Representation

                                                    The third prong of Section 2-801 requires that "[t]he representative parties will fairly and




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 adequately protect the interest of the class." 735 ILCS 5/2-801(3). The class representative's

 interests must be generally aligned with those of the class members, and class counsel must be

"qualified, experienced and generally able to conduct the proposed litigation." See Miner,87 Il1.2d

 at 14;see also Eshaghi v. Hanley Dawson Cadillac Co., Inc., 214 III. App. 3d 995, 1000(1st Dist.

 1991). The putpose of this adequacy of representation requirement is "to insure that all Class

 members will receive proper, efficient, and appropriate protection of their interests in the

 presentation ofthe claim." Purcell & Wardrope Chtd. v. Hertz Corp., 175 Ill. App. 3d 1069, 1078

(1st Dist. 1988).

        In this case, Plaintiff has the exact same interest as the members of the proposed Class.

Plaintiff has alleged that, like the other members ofthe Class, her fingerprint biometric identifiers

 or biometric information were obtained by Defendant through its biometrically enabled products.

(Compl.,IN 25-27.) Plaintiff's pursuit of this matter against Defendant demonstrates that she will

 be a zealous advocate for the Class. Further, proposed class counsel has regularly engaged in major

 complex and class action litigation in state and federal courts and have been appointed as class

counsel in several complex consumer class actions. Accordingly,the proposed class representative

 and proposed class counsel will adequately protect the interests ofthe members ofthe Class, thus

 satisfying Section 2-801(3).

        E.      Fair and Efficient Adjudication of the Controversy

        The final requirement for class certification under 5/2-801 is met where "the class action

 is an appropriate method for the fair and efficient adjudication ofthe controversy." 735 ILCS 5/2-

801(4)."In applying this prerequisite, a court considers whether a class action:(1)can best secure

the economies of time, effort and expense, and promote uniformity; or (2) accomplish the other

ends of equity and justice that class actions seek to obtain." Gordon, 224 I11. App. 3d at 203. In




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                                             practice, a "holding that the first three prerequisites of section 2-801 are established makes it
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                                             evident that the fourth requirement is fulfilled." Gordon, 224 111. App. 3d at 204; Purcell &

                                              Wardrope Chtd., 175 III. App. 3d at 1079("The predominance of common issues [may] make a

                                             class action . . . a fair and efficient method to resolve the dispute."). Because numerosity,

                                             commonality and predominance, and adequacy of representation have been satisfied in the instant

                                             case, it is "evident" that the appropriateness requirement is met as well.

                                                     Other considerations further support certification in this case. A "controlling factor in many

                                             cases is that the class action is the only practical means for class members to receive redress."

                                             Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766("In a large and impersonal society, class

                                             actions are often the last barricade of...protection."). A class action is superior to multiple

                                             individual actions "where the costs of litigation are high, the likely recovery is limited" and

                                             individuals are unlikely to prosecute individual claims absent the cost-sharing efficiencies of a

                                             class action. Maxwell, 2004 WL 719278, at *6. This is especially true in cases involving data

                                             privacy violations and data breaches, which can involve significant injury to the those effected,

                                             but result in many small, individual claims. Here, absent a class action, most members ofthe Class

                                             would find the cost of litigating their statutorily-limited claims to be prohibitive, and multiple

                                             individual actions would be judicially inefficient.

                                                    Certification of the proposed Class is necessary to ensure that Defendant's conduct

                                             becomes compliant with BIPA,to ensure that the Class members' privacy rights in their biometrics

                                             are sufficiently protected, and to compensate those individuals who have had their statutorily-

                                             protected privacy rights violated. Were this case not to proceed on a class-wide basis, it is unlikely

                                             _that any significant number of Class members would be able to obtain redress, or that Defendant

                                             would willingly implement the procedures necessary to comply with the statute. Thus,proceeding




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                                             as a class action here is an appropriate method to fairly and efficiently adjudicate the controversy.
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                                             IV.    CONCLUSION

                                                    For the foregoing reasons, the requirements of 735 ILCS 5/2-801 are satisfied. Plaintiff

                                             respectfully requests that the Court enter an Order certifying the proposed Class, appointing

                                             Plaintiff as Class Representative, appointing McGuire Law,P.C. as Class Counsel, and awarding

                                             such additional relief as the Court deems reasonable. Alternatively, the Court should defer ruling

                                             on this Motion pending the completion of appropriate discovery and supplemental briefing.


                                             Dated: August 24,2021                         Respectfully submitted,

                                                                                           JENORA KYLES,individually and on behalf of a
                                                                                           class of similarly situated individuals

                                                                                           By: /s/ Jordan R. Frysinger
                                                                                           One ofPlaintiifs Attorneys



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                                                                                CERTIFICATE OF FILING
FILED DATE: 8/24/2021 11:01 AM 20212H04025




                                                    The undersigned, an attorney, hereby certifies that on August 24, 2021, a copy ofPlaintiff's

                                             Motionfor Class Certification or, Alternatively,for a Deferred Cla.s..s. Certification Ruling Pending'

                                             Discovery was filed electronically with the Clerk of Court using the e-filing system.



                                                                                                   /s/ Timothy P. Kingsbury




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